Case 9:18-cv-81695-DMM Document 1 Entered on FLSD Docket 12/12/2018 Page 1 of 20


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                                                                      .       CLERK U s DIST cT.
                                                                              s.D.oFFL.A.-W.RB.

   STEELE GM NTE,
                Plaintiftl
   V.                                              CASE N0 .:

   w ELLS FA RGO BAN K ,N .A .
   wELLSFARGOAovlsoRsCINANCIALNErrwou ,Ltc,
   w ELLS FA RGO CAPITA L FIX AN CE,LLc
   wELLSFARGOCLEARINGsERvlcEs,Li.c,
   w ELLS FA RGO     COM M ERICAL D ISTRIBUTION FINAN CE,LLc,
   w ELLS FA RGO     CO M M OD ITIEs,Ll-c,
   w ELLS FARGO      USA H OLDIN G S,lN c.,
   w ELLS FA RGO     Fux os DISTRJBU TOR,LLc
   wELLSFARGOFuxosMANAGEMENT,LQ ,
   w El-t,s FA RGO   HOLDIN GS,LLc ,
   w ELLS FARGO      IN SUR AN CE,m c .,
   w ELLS FARGO      m VESTM EN Ts,LLc,
   w ELLS FARGO      sEculu 'rlE s,LLc
   wELLSFARGOTRADECAPITALkERvlcEs,wc.
   wELLSFARGOVENDORFIXANCIALsERvlcEs,LLc,
   w ELLS FARGO w EALTH BROK ERAGE m stm x cE A GEN CY,Ltc ,
   THE UNKN OW N m sultAN cE COM PAN Y forw ELLS FARGO BAN K ,N .A .
   vIsA,vIsA,mc.,THEUNKNOwNmstm xcECOMPANYFoRvlsAanàvlsA,mc.
   THE FEDER AL DEPO SIT m stm x cE coltpoltv loN and
   THE UNKN O> m stntAN cE COM PAN Y forTHE FEDERAL DEPO SIT
   m sultAx cE CO M PAN Y

                D efendants.
                                                        /

                                CO M PLA IN T FO R DA M A G ES

         THE PLAW TIFF,STEELE GRANTE,(hereinafterPlaintifg,prose,suesDefendants,
   W ELLS FA RG O BAN K,N .A .,W ELLS FA RG O ADV ISORS FIN ANCIAL N ETW ORK ,LLC,
                                                                  ;

   W ELLS FARGO CAPITAE FINANCE,LLC,W ELLS FARGO CLEARW G SERVICES,LLC,
    W ELLS FARGO COM M ERICA L D ISTRIBUTION FINAN CE, LLC, W ELLS FARGO

   COM M ODITIES,LLC, W ELLS FARGO U SA HOLD m GS,INC.,W ELLS FARGO FIJND S


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   DISTRIBUTOR,LLC,W ELLS FARGO FUNDS MANAGEMENT,LLC,WELLS FARGO
   HOLD IN GS,LLC,W ELLS FARGO IN SURANCE,lN C.,W ELLS FARGO IN W STM EN TS,

   LLC,W ELLS FARGO SECURITIES,LLC,W ELLS FA RG O TM D E CAPITAL SERVICES,

   lN C.,W ELLS FARGO VEN DOR FINAN CIAL SERV ICES,LLC,W ELLS FARG O W EA LTH

   BROK ERAGE IN SURAN CE A GEN CY ,LLC, TllE UN KNO W N IN SU RAN CE COM PAN Y

   for W ELLS FARGO BAN K, N .A ., VISA , VISA , lN C., TH E UN KN O W N FNSUR ANCE

   COO AN Y        FO R     VISA      and     VISA ,     IN C.    THE       FED EM L       DEPO SIT

   IN SUM N CE CORPOM TION and Tc               UNK NO W N IN SU RAN CE COM PAN Y for THE

   FEDERALDEPOSIT m SURANCZCOMPANY (hereinafterDefendant's),andstates:
          1.      This isan action fordam agesw hich exceedsthe am ountofseventy-five thousand

   dollars($75,000.00),exclusiveofinterest,costsandattorney'sfees.
                  At a1ltim es m aterialhereto,the Plaintiff w as and is a resident of Palm Beach

   County,Florida.

          3.      At all tim es m aterial hereto D efendant W ells Fargo Bank,N .A . is a banking

   institution,licensed asa designation of agentin the State ofFlorida with iisprimary place of
   businessin San Francisco,CA .

          4.      Atalltim es m aterialhereto DefendantW ells Fargo A dvisors FinancialN etwork,

   LLC is a foreign lim ited liability com pany,licensed in the State ofFlorida w ith itsprim ary place

   ofbusiness in SantaM onica,CA .

          5.      At alltim es materialhereto D efendantW ells Fargo Clearing Services,LLC is a

   foreign lim ited liability com pany, licensed in the State of Florida w ith its prim ary place of

   businessin St.Louis,M O.




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                 At all tim es m aterial hereto D efendant W ells Fargo Com m ercial Distribution '

   Finance, LLC is a foreign lim ited liability com pany,licensed in the State of Florida w ith its

   prim ary place ofbusinessin Chicago,1L.

                 A t all tim es m aterial hereto D efendant W ells Fargo Com m odities, LLC is a

   foreign lim ited liability com pany, licensed in the State of Florida w ith its prim ary place of

   businessin Charlotte,N C.

          8.     A t alltim es m aterialhereto Defendant W ells Fargo U SA H oldings, INC. is a

   foreign profitcorporation,licensed in the State of Florida w ith its prim ary place ofbusiness in

   D esM oines,1A.

          9.      Atalltim es m aterialhereto Defendant W ells Fargo Funds D istributor, LLC is a

   foreign lim ited liability company, licensed in the State of Florida w ith its prim ary place of

   businessin San Francisco,CA .

          10.     Atallt
                       $
                        im es m aterialhereto D efendantW ellsFargo Fund M anagem ent,LLC is a

   foreign lim ited liability company, licensed in the State of Florida w ith its prim ary place of

   businessin San Francisco,CA .

                  Atalltimesmaterialhereto DefendantW ells Fargo Holdings,LLC isa foreign
   lim ited liability com pany,licensed in the State of Florida w ith its prim ary place of business in

   Sunny Isles,FL.

          12.     At alltim es m aterialhereto D efendant W ells Fargo lnsurànce lnc.is a foreign

   profitcorporation,licensed in the State ofFlorida w ith its prim ary place ofbusiness in St.Louis

   Park,M N .




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                  Ata1ltim esm aterialhereto D efendantW ells Fargo Investm ents,LLC is aFlorida

   Lim ited Liability Com pany,licensed in the State ofFlorida w ith itsprim ary place ofbusinessin

   M iam i,FL.

                  At alltim es materialhereto Defendant W ells Fargo Securities,LLC is a foreign

   lim ited liability com pany,licensed in the State ofFlorida w ith its prim ary place of business in

   Charlotte,N C.

          15.     Ata11times m aterialhereto D efendantW ells Fargo Trade CapitalServices,INC.

   is aForeign ProfitCorporation,licensed in the State ofFloridaw ith itsprim ary place ofbusiness

   in Charlotte,N C.

          16.     At a1ltim es m aterialhereto Defendant W ells Fargo V endor Financia;
                                                                                      l Services,

   LLC is a Foreign Lim ited Liability Com pany,licensed in the State of Florida w ith its prim ary

   place ofbusinessin D esM oines,IA .

          17.     At alltim es m aterialhereto DefendantW ells Fargo W ealth Brokerage Insurance

   Agency,LLC is a Foreign Lim ited Liability Com pany,licensed in the State of Florida with its

   prim ary place ofbusiness in Charlotte,N C.

          18.     At a11tim es m aterialhereto DefendantW ells Fargo W ea1th Brokerage Insurance

   Agency,LLC is a Foreign Lim ited Liability Com pany,licensed in the State ofFlorida w ith its

   prim ary place ofbusinessin Charlotte,N C.

                  The nam esand locationsofDefendantW ellsFargo Bank's lnsurance Company is

   unknow n atthistim e.

                  At a1ltim es m aterialhereto, Defendant V ISA is a Foreign Profit Corporation,

   licensed to do businessin the State ofFlorida,w ith its principalplace ofbusiness in FosterCity,

   California.


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                 A t all tim es m aterial hereto, D efendant VISA , IN C. is a Foreign Profit

   Corporation,licensed to do businessin the State ofFlorida,w ith itsprincipalplace ofbusiness in

   FosterCity,California.

                 TheDefendantFederalDepositlnsurance Corporation (FDIC)isanindependent
   agency ofthefederalgoveminentthatpreservesandpromotespubliccontidencein thetinancial
   system by insuring deposits in banks and thriftinstitutions. The FDIC has oftices al1overthe

   U nited States,including an office located in W esley Chapel,Florida.

          23.    Defendant's VISA , VISA , lN C., and the FDIC are agents or sel-vants of

   DefendantUSA A.

          24.    Beginning on or aboutAugust 1,2017,the PlaintiffSuffered a Com plete ldentity

   Theft.Subsequently FraudulentCharges occurred on a VISA credit card account(account
   number4147180120707803)thatplaintiffhadwiththeDefendantW ellsFargoandcontinuedto
   occurforaperiodofapproximatelyone(l)year.
          25.    On oraboutSeptem ber20,2018,afterreturning from travelabroad,plaintiffwas

   com pleting a thorough review of his accounts and noted m issing funds from several bank

   accountand severalsignificantchargeson hisW ellsFargo V ISA CreditCard account,w hich did

   notbelongto him.'thesechargestotal$118,953.82.
          26.    Plaintiff im m ediately contacted Defendant W ells Fargo and w as told that he

   would im m ediately com pensated forthe FraudulentCharges and additionally,thathe needed to

   file a police reportwith localauthoritiesand thatthem atterw ould be investigated.

          27.     Oi1October 12,2018,Plaintifffiled a police reportwith the Boca Raton Police

   Departmentandspokewith OfficerJ.Cortez(2211,CSO)(A686)who,subsequentlycollected
   additionalinformationforthereport(acopyisattachedasExhibit$$A'').


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          28.    Through com m unication w ith allthe three creditbureaus,Experian,Equifax and

   TransUnion,Plaintifflearned thatALL ofhisPersonallnfonnation waspublic and available for

   sale on the underground internet,including the online logins to a1lofhis accounts.He was also

   told to tile a complaintwith the FederalTrade Commission (FTC). Thiswascompleted on
   November14,2018(acopyisattachedasExhibit(1B'').
          29.    The locallaw enforcementagency (Boca Raton PoliceDepartment),allthree
   creditbureaus(Equifax,TransunionandExperian)andtheFTC haveverifiedtheIdentityTheft.
          30.    Despite having received copies ofthe V erified ldentity Theftreports from State

   and FederalLaw Enforcem entA uthorities stated above,the Defendant W ells Fargo refused to

   thoroughly complete an investigation orreverse the FraudulentChargesto hisaccount(See
   ExhibitttC''attached).
          31.    Defendant W ellFargo's refusalto rem edy their erroneous actions has dam aged

   Plaintiff's ability to obtain a loan or line of credit and has caused him to suffer m ental and

   emotionaldistress,painandsuffering,andfinancialinjury.
          32.    lt is D efendant W ells Fargo's duty, as a furnisher of infonnation, to provide

   accurate inform ation to the three CreditReporting Agencies,as wellas their duty to conductan

   investigation and correctreporting errors as m andated by the Fair CreditReporting A ct,U .S.C.

   jj1681s-2(a),(b),butfailedtodosoevenafterhavingreceivedVerifiedldentityTheftReports
   from State and FederalLaw Enforcem entauthoritiesand a1lthree CreditBureaus.

          33.    Through D efendant'W ells Fargo's m alicious interference w ith business

   relationships,Plaintiffhas suffered im m easurable losses. Plaintiffhas attem pted to getseveral

   loansfrom severalbanksforthe establishm entofbusinesses buthas been turned down afterthe

   banks obtained credit reports that included false inform ation about the Verified ldentity Theft


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   (accountsthatdo not belong to him and overdue balances on loansthat do notbelong to
   Plaintift).
          34.    Luian v.DefendersofWildlife.504 U.S.555.560.112 S.Ct.2130.119 L.Ed.2d

   351(19921,requiresthataplaintiffshow :141)ithassufferedanRinjuryinfact'thatis(a)concrete
   andparticularized and(b)actualorimminent,notconjecturalorhypothetical;(2)the injury is
   fairly traceable to the challenged action ofthe defendant;and (3)itislikely,asopposed to
   merely speculative,thatthe injury willbe redressed by a favorable decision.'' Plaintiffhas
   shownthroughtheVerifiedIdentityTheftthatanactualtiinjul'
                                                          yinfact''occurredandistraceable
   to hisW ellsFargo Visa account,identified above.

          35.    Plaintiff states thatthrough W ells Fargo negligence,itfailed to keep his private

   information without adequate security (his login information, account information, social
   securitynumber,etc.)wasprovidedtoanunknownsource.DefendantW ellsFargobreachedthe
   duty ofcare,thuscausing thePlaintiffto sustain dam age and possible futurehann.

          W H EREFO RE,Plaintiffrespectfully requeststhatthe Court

          (a)    FinaljudgmentinfavorofthePlaintiffandagainstDefendants;
          (b)    Award to Plaintiff all fees associated with the veritied identity theft and
   fraudulentactivity on the VISA listed in thiscom plaint;

          (c)    Interest Accrued on the amount that were fraudulently spent on Plaintiff's
   A ccountsincethe Transaction D ates;

          (d)    Trebledamagesasaresultofthemaliciousharm toPlaintiff;




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        (e)   Thecostsandfeesassociatedwiththisaction;and
              Tograntsuchotherreliefasjustifiedbythecircumstancesinthiscase.
                          Respectfully subm itted this10th day ofDecem ber,2018


                                                   ..   .   .   '                 ..



                                               Steele Grante
                                               1515 N .FederalH ighw ay,300
                                               Boca Raton,FL 33432
                                               (561)210-4200




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EditRequestN um ber4912                                                      Page 1 of1




    RequestorLastNam e
    Steele

    RequestorFirstName
    Grante

    Phone
    5614404848
    Em ail
    sg@omnimail.biz
    Address
    1515 N FederalHwy 300

    City
    Boca Raton

    State
    FL

    Zip
    33432

    Description
    Please provide m yID fraud repol'
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      #ofVictims 1            Type: INDIVIDUAL@ OT A LE OFFICER)                Injury:                                            Domestic:N
       VictimgusincssName(Last,Fi
                                rst,Middl
                                        e)                                    Viçtim of DOB Race Scx Relationship ResidtntStatus Military
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  T
  I       ISISN FEDEU L H IC -Jpp, BocaRaton,Fz 33432-                                                                                       561-440-4848
 M     EmployerName/Address                             ,'                                                 BusinessPhone               MobilePhone
                       OM N1JW TFAPW SSS 141N M ZOTH STREET OJIW SR
       VYR      Make          Model       Style       Color               Lici is                           VIN

       CODES: V-Victim (DenoteVA V3) O =Owner(ifotherth% victim) R=RcportingPerson(ifotherthanvictim)
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 T code Namc(LastaFirst,Middle)                                              Vi
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      EmployerNam e/Address                             .                                                  BusinessPhone               MobilePhone
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  Boca Raton PoliceDepartment            INC IDENT IINVESTIGATIO N R EPO RT                BY:AHOLBERT,AHOLBERT 10/22/2018
 Video                                                           page2                             CaSe# 2018-013668

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Someunknownpersongainedaccesstobankaccountsandcreditcardaccotmtsusingthtvictinfspersonalinformation.
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   On 10/12/18,1spokewith SteeleGrante,1515N FederalHwy,Suite300,BocaRaton,FL,who reportedthatsome
   unknown persongained accessto hisbank accountsand creditcard accountsusing personalinformation.

   Grante discoveredon 09/20/18,afterreviewing hisbusinessaccountsthatsomeonehad gainedaccessto hisW ells
   Fargo accountand also noticed therewereseveralunauthorizedtransactionson someofhiscreditaccounts.

   Grante advisedthatthe listofsuspiciouscreditcard transactions are considerably extensive and willprovidea list
   when hisauditiscomplete atalaterdate.

   Grante saidthathisbank,W ellsFargo,advised him to fileapolice reportfordocumentationand theirfollow up.

   Grante advisedthatthe listofsuspiciouscreditcard transactionsare considerably extensive asfollows'
                                      .                                                             .

   PNC VISA 4489153046210901$81,542.21
   PNC VISA 4690835019066790$136,611.04
   PNC VISA 4436030079130020$55,195.50
   PNC VISA 4436030071924016$52,695.66
   W ellsFargo Visa4147180120707803 $118,953.82
   AlliantCreditUnion VISA 4909700000009638 $61,219.45
   Bank ofAm ericaVISA 4003902017625175 $24,354.59
   USAA VISA 4270825013919506          $23,194.18
   W esterraCreditUnion VISA 4584270000072103        $27,127.75
   Barclay BankM astercard 5523224041606453 $32,163.04
   Discover60l1208832870276 $30,886.00
   FairwindsVISA 4105972000919320 $28,775.00

   Hehasalso contacted the creditbureausand placed fraudalertson hisallofhisaccounts.




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     Steele Grante                                                E61-212-1222
     151E1%1FederalHwye3gg                                        sg@ omnimail.biz
     Boca Reton,FL33132




     Ihave suffered a CompleteID Theft.The one ormore perpetratorshave made FraudulentSpending on alIofthe
     Credi
         tCardsandaccountsIisted onthe Police Reportandbelow and possible othersIhave notyetdetermined.
     AlsoFraudulentvehicle purchasesend possiblyaddi tionalfraudulentadivity.My BankAccountswere accessed
     aswellasmy PaypalAccount.Ialso found Many Many CreditInquiries.PNCVISA 41881E3g1621E)921$81-512.21
     PNCVISA 168283E215288792$138,611.21PNCVISA 1136232278132222$ES-185.62PNCVISA
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  Steele Grante                             11/14/2018
Steel
    e Grante                              Date




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 CaseManager- MelanieA844-576-6424X260917-CST                                                                                                                                                                    $9,999.00 May17,2018                                             October15,2018                                 05/162449215GTJHH3J3QBCORPORA
 Escalations-                                                                                                                                                                                                    $8,899.00 April17,2018                                           October15,2018                                 04/172449215FWJHQ3QEE1CORPOI U
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 AttnReconsiderations-WellsFargo CreditCard FraudClaims                                                                                                                                                          $1,249.75 May4,2018                                              September22,2018                              05/0405/042449804GDK0DY921VVERIZI
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 Name-steeleGrante                                                                                                                                                                                               $2,031.70 May17,2018                                             september22,2018                              05/1705/172469216G7*2c 77N1M VZW RL
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 Escalations-MelanieAnderson844-576-6424X 260917-7CST'                                                                                                                                                           $4,199.76 December1,2017                                        September26,2018                               12/0112/012449804AHKQBJQ1FrVERIZC
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